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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                       CAMDEN DIVISION
 _______________________________________
                                               )
 KYLE BURNS, RUBY HAYES, JASMINE               )
 NORVILLE, and LISA RODRIGUEZ, on              )
 behalf of themselves and all others similarly )
 situated,                                     )
                                               )
               Plaintiffs,                     )
                                               ) Case No. 1:21-cv-18194-KMW-AMD
 v.                                            )
                                               )
 TD BANK, N.A.,                                )
                                               )
               Defendant.                      )
 _______________________________________)

        PLEASE TAKE NOTICE that the undersigned hereby enters an appearance as counsel

 for Plaintiffs Jasmine Norville, and Lisa Rodriguez (“Plaintiffs”) in the above-captioned action.

 Please serve copies of all papers upon the undersigned attorney at the office and e-mail address

 listed below and cause any future Notices of Electronic Filing in the above-captioned matter to

 be sent through the CM/ECF System.


 Dated: April 22, 2022                        Respectfully submitted,

                                              /s/ Andrew Obergfell
                                                  Andrew Obergfell
                                                  New Jersey Bar No. 157962015
                                                  BURSOR & FISHER, P.A.
                                                  888 Seventh Ave, Third Floor
                                                  New York, NY 10019
                                                  Telephone: (646) 837-7150
                                                  aobergfell@bursor.com

                                                 Attorney for Plaintiffs




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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 18th day of April, 2022, I electronically filed the foregoing

 document with the clerk of court using the electronic case filing system, CM/ECF. The

 electronic case filing system sent a “Notice of Electronic Filing” to attorneys of record, who

 have consented in writing to accept this notice as service of this document by electronic means.

                                             /s/ Kenneth J. Grunfeld
                                             Kenneth J. Grunfeld




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